                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                           CRIMINAL DOCKET NO.: 5:06CR22

UNITED STATES OF AMERICA                  )
                                          )
            vs.                           )
                                          )                           ORDER
DONZEL FREDRIKUS STINSON (20),            )
                                          )
            Defendant.                    )
_________________________________________ )

       THIS MATTER is before the Court on the Government’s “Motion for Revocation and

Stay of the Magistrate’s Order,” filed July 19, 2006.

       Defendant was charged by way of Bill of Indictment with conspiracy to possess with

intent to distribute cocaine and cocaine base, in violation of 21 U.S.C. §§ 841, 846. United

States Magistrate Judge David Keesler presided over Defendant’s original detention hearing on

June 6, 2006. At the conclusion of this hearing, Defendant was ordered detained. Subsequently,

on July 11, 2006, Defendant pled straight up to Count One of the Bill of Indictment. On July 13,

2006, Defendant appeared before Chief United States Magistrate Judge Carl Horn for a bond

review hearing.

       There is a rebuttable presumption of detention where a person has been found guilty of an

offense and is awaiting sentencing. 18 U.S.C. § 3143(a)(1). Defendant contends that this

presumption is rebutted in this matter due to the fact that he has entered a straight-up plea of

guilty in this case, attended Alcoholics Anonymous classes, worked full-time prior to his arrest,

has strong religious convictions, has strong family support, and has a place to live while on bond.

Moreover, Defendant argues that he has provided substantial assistance to the Government and


                                                  1


    Case 5:06-cr-00022-KDB-SCR             Document 210        Filed 07/19/06       Page 1 of 4
defense counsel expects that as a result of this assistance, the Government will file a motion for a

downward departure.

       At the conclusion of the hearing, Magistrate Judge Horn released Defendant on bond.

The Magistrate Judge concluded that the fact that Defendant clearly accepted responsibility for

his actions in this case, expressed an intent to cooperate with the Government and has already

been cooperating with the Government, has a sincere conviction of religion, and has a supportive

family with whom he could live upon release were all sufficient factors to warrant release at that

time. Moreover, Magistrate Judge Horn released Defendant upon various conditions, which

included that Defendant: (1) execute a $25,000 unsecured bond; (2) live in Asheboro, North

Carolina with his mother; (3) work and support his three children; (4) be subjected to drug

testing; and (5) have a curfew of 10 p.m. and not leave the house before 6 a.m. The Government

opposes this release and moves for an Order of Revocation of the Magistrate Judge’s Order of

Release.

       This Court reviews de novo the Magistrate Judge’s detention order. United States v.

Williams, 753 F.2d 329, 333 (4th Cir. 1985). The Court has reviewed the recording of the hearing

before Magistrate Judge Horn, as well as the contents of the criminal file in this matter. In

determining whether there are conditions of release that will reasonably assure the appearance of

the Defendant and the safety of other persons and the community, the Court must consider all the

evidence regarding:

       (1)     the nature and circumstances of the offense charged, including whether the
               offense is a crime of violence or involves a narcotic drug;

       (2)     the weight of the evidence against the person;



                                                 2


    Case 5:06-cr-00022-KDB-SCR            Document 210          Filed 07/19/06     Page 2 of 4
       (3)     the history and characteristics of the person, including –
               (A)     the person’s character, physical and mental condition, family ties,
                       employment, financial resources, length of residence in the
                       community, community ties, past conduct, history relating to drug
                       or alcohol abuse, criminal history, and record concerning
                       appearances at court proceedings; and
               (B)     whether, at the time of the current offense or arrest, the person was
                       on probation, on parole, or on other release pending trial,
                       sentencing, appeal, or completion of sentence for an offense under
                       Federal, State, or local law; and

       (4)     the nature and seriousness of the danger to any person or the community
               that would be posed upon the person’s release. . .

18 U.S.C. § 3142(g).

       Upon review of these factors and for the reasons stated herein, the Court accepts the

Magistrate Judge’s finding that bond is appropriate. In support of this conclusion, the Court

finds significant that since Defendant’s first detention hearing, he has pled guilty to the offense

charged and has accepted responsibility for his actions in this case. Additionally, as found by the

Magistrate Judge, Defendant is twenty-nine years old, has three children to support, has a sincere

conviction of religion, and has a residence where he can live upon release. Defendant provided

substantial assistance to the Government and, as a result of this assistance, expects that the

Government will file a downward departure motion.

       Defendant will live with his mother in Asheboro, North Carolina while out on bond and

will work full-time. Defendant will be subject to drug testing and will comply with a 10 p.m.

curfew and not leave his house before 6 a.m. Taking all of the factors into consideration, the

Court finds that this combination of conditions, along with the requirements imposed by

Magistrate Judge Horn, will reasonably assure the appearance of Defendant and the safety of the

community.


                                                  3


    Case 5:06-cr-00022-KDB-SCR           Document 210        Filed 07/19/06     Page 3 of 4
       IT IS, THEREFORE, ORDERED that the Government’s “Motion for Revocation and

Stay of the Magistrate’s Order” is hereby DENIED. Accordingly, the Order of Magistrate Judge

Horn authorizing release is hereby AFFIRMED.

       IT IS FURTHER ORDERED that Defendant be released upon the same terms and

conditions as ordered by Magistrate Judge Horn on July 19, 2006.

       IT IS FURTHER ORDERED that the Clerk certify copies of this Order to Defense

Counsel, the United States Attorney, the United States Marshal Service, and the United States

Probation Office.



                                               Signed: July 19, 2006




                                               4


    Case 5:06-cr-00022-KDB-SCR           Document 210       Filed 07/19/06      Page 4 of 4
